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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


COOK COUNTY, ILLINOIS,
         et al.,

       Plaintiffs,
                                                           Case No. 19-cv-6334
               v.
                                                           Judge Gary Feinerman
CHAD F. WOLF, in his official capacity as
Acting Secretary of U.S. Department of
Homeland Security,
               et. al.,

       Defendants.


                                       Notice of Appeal

       Pursuant to F.R.A.P. 3(a), all Defendants hereby appeal, to the U.S. Court of Appeals for

the Seventh Circuit, the Court’s November 2, 2020 Order granting Plaintiffs’ motion for partial

summary judgment, entering final judgment under F.R.C.P. 54(b), and vacating the Department of

Homeland Security’s (“DHS”) final rule, Inadmissibility on Public Charge Grounds, 84 Fed. Reg.

41292 (Aug. 14, 2019). See ECF Nos. 221, 222, 223.



Dated: November 2, 2020                            Respectfully submitted,

                                                   JEFFREY BOSSERT CLARK
                                                   Acting Assistant Attorney General

                                                   ALEXANDER K. HAAS
                                                   Director, Federal Programs Branch

                                                   /s/ Kuntal Cholera             _
                                                   ERIC J. SOSKIN
                                                   KERI L. BERMAN
                                                   KUNTAL V. CHOLERA
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